Case 1:08-cr-00010-MW-GRJ         Document 232      Filed 03/12/09   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                      CASE NO.: 1:08cr10-SPM

DIEGO CHOXJ CHA

______________________________/

                            ORDER OF REFERENCE

      The court has been informed that the defendant in the above styled case

wishes to enter a plea of nolo contendere and consents to having the plea

proceedings conducted by a United States Magistrate Judge. Pursuant to the

provisions of 28 U.S.C. § 636(b)(3) and Loc. R. 72.3, it is hereby

      ORDERED that the above captioned criminal case be referred to the

Honorable Allan Kornblum, United States Magistrate Judge, to conduct all of the

proceedings required by Rule 11 of the Federal Rules of Criminal Procedure

incident to a nolo contendere plea and to make a recommendation to the District

Judge concerning acceptance or rejection of the plea.

      DONE AND ORDERED this 12th day of March, 2009.



                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
